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U.S. Department of Justice

United States Attorney

 

 

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District of Maryland
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Jonathan Van Hoven, Esq. eo — F
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‘Re: Plea Agreement in the Case of ra oe =
United States v. DeAndre Anderson a ™y @ xm
Criminal No. ELH-17-475 oe s =
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Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to the Defendant by the United States Attorney’s Office for the District of Maryland
(“this Office”). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by February-22, 2018, it will be deemed
withdrawn. The terms of the agreement are as follows: PAY.) 2 mD

Offense of Conviction —
Foe rin QD MD

1. The Defendant agrees to plead guilty to Count One of the ‘Hird-Superseding
Indictment now pending against him, which charges him with Conspiracy to Distribute Controlled
Substances, in violation of 21 U.S.C. § 846. The Defendant admits that he is, in fact, guilty of that

offense and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
‘which this Office would prove if the case went to trial, are as follows:

Beginning in or about January 2012 through on or about October 24, 2017, in the District of
Maryland,

(1) There existed an agreement between two or more persons to distribute and possess with
intent to distribute a mixture or substance containing a detectable amount of heroin, a
Schedule I controlled substance, a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance, a mixture or substance containing a detectable
amount of cocaine base, a Schedule II controlled substance; and a mixture or substance
containing a detectable amount of fentany!, a Schedule II controlled substance;

(2) The Defendant knew of this agreement;

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(3) The Defendant knowingly and voluntarily participated in or became a part of this agreement;
and

(4) The amount of heroin involved in the conspiracy attributable to the Defendant and to the
other conspirators reasonably foreseeable to the Defendant is one kilogram or more of a
mixture or substance containing a detectable amount of heroin.

Penalties

3. The maximum sentence provided by statute for the offense to which the Defendant
is pleading guilty is as follows: life imprisonment, with a mandatory minimum 10 years of
incarceration, followed by a term of supervised release of at least 5 years, and a fine of
$10,000,000. In addition, the Defendant must pay $100 as a special assessment pursuant to 18
U.S.C. § 3013, which will be due and should be paid at or before the time of sentencing. This Court
may also order the Defendant to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and
3664.! If a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18
U.S.C. § 3572(d), the Court orders otherwise. The Defendant understands that if he serves a term
of imprisonment, is released on supervised release, and then violates the conditions of his
supervised release, his supervised release could be revoked - even on the last day of the term - and
the Defendant could be returned to custody to serve another period of incarceration and anew term ~
of supervised release. The Defendant understands that the Bureau of Prisons has sole discretion in
designating the institution at which the Defendant will serve any term of imprisonment imposed.

Waiver of Rights

4. The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opporturiity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c, If the Defendant went to trial, the government would have the burden of

 

Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shal! be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(H(G). —
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proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to
attend. ,

_ 4, The Defendant would have the right to testify in his own defense if he so ~
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

e. If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against his. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court’s decisions. SO

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court’s questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The Defendant
recognizes that if he is not a citizen of the United States, pleading guilty may have consequences
with respect to his immigration status. Under federal law, conviction for a broad range of crimes
can lead to adverse immigration consequences, including automatic removal from the United
States. Removal and other immigration consequences are the subject of a separate proceeding,
however, and the Defendant understands that no one, including his attorney or the Court, can
‘predict with certainty the effect of a conviction on immigration status. Defendant nevertheless
affirms that he wants to plead guilty regardless of any potential immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28
US.C. §§ 991] through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.
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Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the following .
Statement of Facts which this Office would prove beyond a reasonable doubt, and to the following
applicable sentencing guidelines factors:.

From at least January 2012 through October 24, 2017, Ermest MCRAE and Jackie
“BAGLEY controlled and operated a drug trafficking organization (‘DTO”) operating in the
vicinity of 1100 North Montford Avenue in Baltimore, the District of Maryland. The DTO
distributed heroin, cocaine, and cocaine base.

Throughout July 2015 and February 2017, the Defendant participated in the DTO. During
this period, the Defendant knowingly agreed with other members of the DTO to distribute heroin,
a Schedule I controfled substance. On a daily basis, the Defendant conducted street-level drug sales
to drug buyers. For example, on January !0, 2017, the Defendant sold an undercover officer twenty
gel caps of heroin, On January 12, 2017, the Defendant sold fifty gel caps of heroin to an
undercover officer.

The Defendant also served as one of the managers in the DTO, which included over a dozen
members. As one of the managers of the DTO, the Defendant was responsible for managing a
portion of the daily supply of narcotics for the DTO, providing bags of heroin gel caps to other
street-level distributors of the DTO, and taking custody of drug proceeds from the distributors.

Over the course of the Defendant’s participation in the conspiracy, it was reasonably
foreseeable to the Defendant that the DTO distributed over one kilogram of heroin and a detectable
amount of cocaine.

a. The base offense level for Count One is at least 30 pursuant to United States
Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(c)(5).

b. Because of the Defendant’s role as a manager in the criminal activity and
the activity involved five or more participants, the offense level is increased by three levels
pursuant to U.S.S.G. § 3B1.1(b).

c. This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level, based upon the Defendant’s apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct pursuant to U.S.S.G. § 3E1.1(a).
This Office also agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional one-
evel decrease in recognition of the Defendant's timely notification of his intention to plead guilty.

d. The total offense level is therefore 30.

7. The Deferidant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level if he is a career
offender or if the instant offense was a part of a pattern of criminal conduct from which he derived
a substantial portion of his income.
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8. This Office and the Defendant agree that, with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors, potential
departures, or adjustments set forth in the United States Sentencing Guidelines are in dispute.

Rule 11(c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of 120 months of imprisonment in the custody of the Bureau of
Prisons is the appropriate disposition in this case, The parties agree that this sentence will run
concurrent to the state sentence the defendant is presently serving. This agreement does not affect
the Court’s discretion to impose any lawful term of supervised release, restitution, or fine, or to set
any lawful conditions of probation of supervised release. If the Court rejects this plea agreement,
either party may elect to declare the agreement void. Should the Defendant elect to do so, he will
be afforded the opportunity to withdraw his plea pursuant to the provisions of Federal Rule of
Criminal Procedure 11(c}(5).

10. The parties agree that a sentence of 120 months of imprisonment is a reasonable
and appropriate sentence, taking into consideration the nature and circumstances of the offense,
and the defendant’s criminal history, and all of the other factors set forth i in 18 U.S.C. § 3553 (a).

11. The parties request that the Bureau of Prisons designate the Maryland state facility
where the defendant is currently serving the sentence for service of the defendant's federal
sentence until the conclusion of the defendant’s concurrent state sentence. At the conclusion of the
Defendant's state sentence, the Bureau of Prisons will designate a federal facility near Maryland
for service of the remainder of the Defendant's federal sentence.

Obligations of the United States Attorney’s Office
12. At the time of sentencing, this Office will recommend a sentence of 120 months of
incarceration. The United States will also recommend that this sentence run concurrent with the
Defendant's state sentence that he is currently serving.
13. The -parties reserve the right to bring to the Court’s attention at the time of

sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct.

Waiver of Appeal

14. In exchange for the concessions made by this Office and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
otherwise, to appeal the Defendant’s conviction;

b. The Defendant and this Office knowingly waive all right, pursuant to 18
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U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the.determination of
the Defendant’s criminal history, the weighing of the sentencing factors, and the decision whether
to impose and the calculation of any term of imprisonment, fine, order of forfeiture, order of
restitution, and term or condition of supervised release. |

c. Nothing in this agreement shall be construed to prevent the Defendant or
this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear errer.

d. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation-and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Obstruction or Other Violations of Law

15. The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. If the
Defendant (i) engages in conduct after the date of this agreement which would justify a finding of
obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal responsibility for his
conduct by failing to acknowledge his guilt to the probation officer who prepares the Presentence
Report, or (iii) commits any offense in violation of federal, state or local law, then this Office will
be relieved of its obligations to the Defendant as reflected in this agreement. Specifically, this
Office will be free to argue sentencing guidelines factors other than those stipulated in this
agreement, and it will also be free to make sentencing recommendations other than those set out
in this agreement. As with any alleged breach of this agreement, this Office will bear the burden
of convincing the Court of the Defendant’s obstructive or unlawful behavior and/or failure to
acknowledge personal responsibility by a preponderance of the evidence. The Defendant
acknowledges that he may not withdraw his guilty plea because this Office is relieved of its
obligations under the agreement pursuant to this paragraph. .

Court Not a Par

16. | The Defendant expressly understands that the Court is not a party to this agreement.
In the federal system, sentence is imposed by the Court, and the Court is under no obligation to
accept this plea agreement. In the event the Court rejects this Rule 11(c)(1)(C) plea agreement,
pursuant to Rule 11(c)(5)(C), the Defendant will be informed that he may withdraw his plea. If he
persists in the guilty plea thereafter, the Defendant understands that the disposition of the case may
be less favorable than that contemplated by this agreement. The Defendant understands that neither
this Office, his attorney, nor the Court can make a binding prediction or promise that the Court
will accept this agreement. The Defendant agrees that no one has made such a binding prediction
or promise.
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Entire Agreement

17. This letter supersedes any prior understandings, promises, or conditions between .
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by al! parties.

If the Defendant fully accepts each and every term and condition of this agreement,

_ please sign and have him sign the original and return it to me promptly. |

Very truly yours,

Stephen M. Schenning
Acting United States Attorney

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Assistant United States Attorney

  

[have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and J voluntarily agree to it. Specifically, 1 have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. 1 am completely satisfied with the representation of my attorney.

yon Miho A :

Date DeAndre Anderson

1 am DeAndre Anderson’s attorney. ] have carefully reviewed every part of this
agreement, including the Sealed Supplement with him. He advises me that he understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and
voluntary one.

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Date Jonatha Van Hoven, Esq.
